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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

 Preterm-Cleveland, et al.,                  :
                                             :
                 Plaintiffs,                 : Case No. 1:19-cv-00360
                                             :
                 vs.                         : Judge Michael R. Barrett
                                             :
 Attorney General of Ohio, et al.,           :
                                             :
                 Defendants.                 :
                                             :
                                             :

                                         ORDER

       This matter is before the Court on Amici’s Motion for Leave to File an Amici Curiae

brief in support of Ohio. (Doc. 44). Amici attached their proposed brief to their Motion.

(Doc. 44-1). For good cause shown, it is hereby ORDERED that the Motion (Doc. 44) is

GRANTED. The parties, if they wish to respond, must file any responses on or before

April 8, 2020.

       IT IS SO ORDERED.
                                                _s/ Michael R. Barrett_______
                                                Michael R. Barrett, Judge
                                                United States District Court
